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 Fill in this information to identify the case:

     United States Bankruptcy Court for the:                                                                   ■1$
                SOUTHERN District of NEWYORK
                                         (State)                                                                             •b             ■(/ > ;
     Case number iif known):                                     Chapter _11                                                                       □ Check if this is an
                                                                                                                              '/
                                                                                                                                          /($>         amended filing


Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                   04/i6
If more space is needed, attach a separate sheet to this form. On the top of any additionai pages, write the debtor's name and the case
number (if known). For more information, a separate document. Instructions for Bankruptcy Forms for Non-Individuals, is avaiiabie.



1.     Debtor's name                           82 WORLD ENTERPRISES LLC




2. All Other names debtor used                 _none_
       in the last 8 years
       Include any assumed names,
       trade names, and doing business
       as names




3. Debtor's federal Employer                            -—4 'I tre-4^
   Identification Number (BIN)



4.     Debtor's address                        Principal place of business                                   Mailing address. If different from principal place
                                                                                                             of business


                                               9 HILLEL COURT
                                                                                                             Number          Street
                                               Number          Street


                                                                                                             P.O. Box

                                                                                                             City                          State          ZIP Code
                                               MONSEY                         NY       10952
                                                                                                             Location of principal assets, if different from
                                               City                                State       ZIP Code
                                                                                                             principal place of business

                                                                                                             186      Roosevelt Ave

                                                                                                             Number          Street
                                               ROCKIJ\ND County




                                                                                                             Staten Island                 NY


                                                                                                             City                          State         ZIP Code




5. Debtor's website (URL)                             NONE



                                                      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
6. Type of debtor
                                               Q Partnership (excluding LLP)
                                               □ Other. Specify:


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Debtor         82 WORLD ENTERPRISES LLC                                                               Case number known)




                                         A. Check one:
7. Describe debtor's business
                                         □ Health Care Business (as defined in 11 U.S.C. §101(27A))
                                         Q Single Asset Real Estate (as defined in 11 U.S.C. §
                                              101(518))
                                         □    Railroad (as defined in 11 U.S.C. § 101(44))
                                         □    Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         □    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         □    Clearing Bank (as defined in 11 U.S.C. § 781(3))


                                         B. Check all that apply:

                                         □ Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         Q Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                         □ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                                                                                     A lATI
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.aov/four-diait-nafional-association-naics-codes.




   Under which chapter of the            Check one:
   Bankruptcy Code is the
   debtor filing?                        □ Chapter 7
                                         □ Chapter 9
                                         G) Chapter 11. Check all that apply:
                                                                    Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                    insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                                    4/01/19 and every 3 years after that).
                                                                 □ The debtor is a small business debtor as defined in 11 U.S.C. § 101(510). If the
                                                                    debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                    of operations, cash-flow statement, and federal income tax return or if all of these
                                                                    documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                 □ A plan is being filed with this petition.
                                                                 □ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                    creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                 □ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                    Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                    Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                    for Bankruptcy under Chapter 11 (Official Form 201 A) with this form.

                                                                 □ The debtor Is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                     12b-2.

                                         □ Chapter 12

   Were prior bankruptcy cases
   filed by or against the debtor
   within the last 8 years?                  I Yes.   District                                When                    Case number.
                                                                                                     MM / DD/YYYY
   If more than 2 cases, attach a
                                                      District                                When                    Case number
   separate list.
                                                                                                     MM / DD/YYYY


10. Are any bankruptcy cases             (3 No
    pending or being filed by a
    business partner or an               Q Yes. Debtor                                                                Relationship
   affiliate of the debtor?                           District                                                        When
                                                                                                                                     MM   /   DD   /YYYY
   List all cases. If more than 1,
   attach a separate list.                            Case number, if known


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Debtor            82WORLD ENTERPRISES LLC                                                   Case number {ifknown)^

            -±!am§L-


11. Why is the case filed in this    Check all that apply:
   district?                             Qebtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                     □ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have      121 No
   possession of any real            □ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                        Why does the property need immediate attention? {Check all that apply.)
   attention?
                                                □ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?

                                                □ It needs to be physically secured or protected from the weather.
                                                □ It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                □ Other


                                               Where is the property?.
                                                                             Number       Street




                                                                             City                                            State      ZIP Code



                                               is the property insured?
                                               □ No
                                               Q Yes. Insurance agency _
                                                          Contact name


                                                          Phone




           Statistical and administrative information




13. Debtor's estimation of           Check one:
    available funds                  □ Funds will be available for distribution to unsecured creditors.
                                     1^ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                     ^f-49                               □ 1.000-5,000                               □ 25,001-50,000
14. Estimated number of
                                     □ 50-99                             □ 5,001-10,000                              □ 50,001-100,000
    creditors
                                     □ 100-199                           □ 10,001-25,000                             □ More than 100,000
                                     □ 200-999

                                     □   $0-$50,000                      □   $1,000,001-$10 million                  □   $500,000,001-$1 billion
15. Estimated assets
                                     □   $50,001-$100,000                □   $10,000,001-$50 million                 □   $1,000,000,001-$10 billion
                                     Q   $100,001-$500,000               □   $50,000,001-$100 million                □   $10,000,000,001-$50 billion
                                     □   $500,001-$1 million             □   $100,000,001-$500 million               □   More than $50 billion



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                82 WORLD ENTERPRISES LLC                                                         Case number {ifknown)^
Debtor



                                        □   $0-$50,000                         □   $1.000,001-$10 million                  □    $500.000.001-$1 billion
16. Estimated liabilities               □   $50,001-$100,000                   □   $10,000,001-$50 million                 □    $1,000,000,001-$10 billion
                                        □   $100,001-$500,000                  □   $50,000,001-$100 million                □    $10.000,000.001-$50 billion
                                        Q   $500,001-$1 million                □   $100.000,001-$500 million               □    More than $50 billion



           Request for Relief, Declaration, and Signatures


WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
              $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341,1519, and 3571.


17. Declaration and signature of        m   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of            petition.
   debtor

                                        m   I have been authorized to file this petition on behalf of the debtor.

                                        M   I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.



                                        I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on      06/06/2018
                                                            MM    /DD/YYYY


                                                                                                               MENCHfiM KATZMAN
                                            Signature of authorized representative of debtor
                                                                                                          Printed name
                                            Title        MEMBER




18. Signature of attorney
                                                        Hi
                                            Signature of attorney for debtor
                                                                                                          Date
                                                                                                                        MM
                                                                                                                          06/06/2018

                                                                                                                                /DD /YYYY




                                                          GERALD SLOTNf
                                            Printed name                   '»
                                                           GERALD SLOTNI^^
                                            Firm name
                                                        1833 EAST 12TH STREET. #6^
                                            Number         Street
                                                         BROOKLYN                                                  NY                  11229
                                            City                                                                State            ZIP Code


                                                        718-375-6616
                                            Contact phone                                                       Email address



                                                        1407105
                                                                                                                  NY
                                            Bar number                                                          State




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                82 WORLD ENTERPRISES LLC                                                       Case number {ifknown)_
Debtor



                                        □   $0-$50.000                      □   $1.000.001-$10 million                   □   $500,000,001-$1 billion
16. Estimated liabilities               □   $50.001-$100,000                □   $10.000.001-$50 million                  □   $1,000,000,001-$10 billion
                                        □   $100,001-$500.000               □   $50,000.001-$100 million                 □   $10,000,000,001-$50 billion
                                        Q   $500,001-$1 million             □   $100,000,001-$500 million                □   More than $50 billion



           Request for Relief, Declaration, and Signatures


WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
              $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341,1519, and 3571.


17. Declaration and signature of        i^i jhe debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of             petition.
   debtor

                                            I have been authorized to file this petition on behalf of the debtor.

                                        m   I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.



                                        I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on      06/06/2018
                                                           MM     /DD/YYYY


                                                                                                            MENCHAM KATZMAN

                                            Signature of authorized representative of debtor
                                                                                                        Printed name
                                            Title        MEMBER




18. Signature of attorney                                                                                               06/06/2018

                                            Signature ofattorney for qeiwor                                          MM      /DD /YYYY




                                                          GERALD SLOTNIK
                                            Printed name

                                                           GERALD SLOTNIK
                                            Firm name

                                            1833 EAST 12TH STREET, UNIT 6L

                                                         BROOKLYN                                               NY                11229
                                            City                                                             State            ZIP Code


                                                        718-375-6615
                                            Contact phone                                                    Email address



                                                        1407105
                                                                                                               NY
                                            Bar number                                                       State




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                       UNITED STATES BANKRUPTCY COURT

  SOUTHERN DISTRICT OF NEW YORK



  IN RE: 82 WORLD ENTERPRISES LLC

                                          CASE NO. 18-
                                          CHAPTER 11




        LIST OF CREDITORS

  BAYVIEW LOAN SERVING
  C/0 FEIN, SUCH AND CRANE
  1400 OLD COUNTRY ROAD
  SUITE C 103
  WESTBURY, NY 11590
